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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF OKLAHOMA



KELLY D. TEAL, an individual,                         )
                                                      )
                               Plaintiff,             )
                                                      )
vs.                                                   )        Case No. CIV-15-199-SPS
                                                      )
ATOKA COUNTY MEDICAL CENTER, a                        )
public trust, BEVERLY PICKETT,                        )
INDIVIDUALLY, and PAUL REANO,                         )
Individually, jointly and severally,                  )
                                                      )
                               Defendants.            )



                            JUDGMENT DISMISSING ACTION
                             BY REASON OF SETTLEMENT

       The Court has been advised by counsel that this action has been settled, or is in the

process of being settled. Therefore, it is not necessary that the action remain upon the calendar

of the Court.

       IT IS ORDERED that the action is dismissed without prejudice. The Court retains

complete jurisdiction to vacate this order and to reopen the action upon cause shown that

settlement has not been completed and further litigation is necessary.

       IT IS FURTHER ORDERED that the clerk forthwith serve copies of this judgment

upon the attorneys for the parties appearing in this action.

       IT IS FURTHER ORDERED that parties are directed to submit closing papers within

30 days from date of this judgment or the case will be deemed dismissed.

       DATED this 19th day of July, 2016.
